
Phillips
: Taxpayer appeals from the determination of deficiencies in income and profits taxes of $2,287.37 for 1919 and $3,674.74 for 1920. The sole question involved is the March 1, 1913, value of taxpayer’s building, the Commissioner having used cost, as shown by taxpayer’s books, for the purpose of computing depreciation.
FINDINGS OP FACT.
The taxpayer is a corporation, organized in 1891 under the laws of the State of New Jersey, with its principal office at Newark, and since its organization has' been engaged in the retail lumber and mill-work business.
During 1919 and 1920 the taxpayer owned and used in the conduct of its business certain buildings erected upon its property prior to March 1,1913. The fair market value of such buildings on March 1, 1913, and the probable useful life thereof on that date were as follows:
[[Image here]]

The net income and the deficiencies for 1919 and 1920 should be recomputed by allowing depreciation on the March 1, 1913, values. Order of redetermination will be entered on 15 days' notice, under Rule 50.

